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 1                                  UNITED STATES DISTRICT COURT

 2                                        DISTRICT OF NEVADA

 3

 4                                                             Case No. 2:18-cv-01598-JAD-NJK
         Rafael Castillo-Sanchez,
 5
                           Petitioner
 6              v.                                          Order Granting Unopposed Motion for
                                                                     Extension of Time
 7
         Dwight Neven, et al.,                                             ECF No. 16
 8
                          Respondents
 9

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11             Petitioner Rafael Castillo-Sanchez brings this action for habeas corpus relief under 28
12 U.S.C. § 2254 to challenge his state-court conviction for murder. 1 Castillo-Sanchez’s counseled

13 first amended petition is due August 11, 2020. Castillo-Sanchez now moves to extend the time

14 to file a first amended petition because of the large record in this case, hearings in other cases,

15 medical problems, and continued disruption due to the COVID-19 pandemic. 2 The motion is

16 unopposed. Good cause appearing,

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23   1
         ECF No. 4.
     2
         ECF No. 16.
         Case 2:18-cv-01598-JAD-NJK Document 17 Filed 11/09/20 Page 2 of 2




 1        IT IS ORDERED that the Unopposed Motion for Extension of Time [ECF No. 16] is
 2 GRANTED. Petitioner's deadline to file a counseled first amended petition for writ of

 3 habeas corpus is extended to February 8, 2021.

 4        Dated: November 9, 2020
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 5                                                     U.S. District Judge Jennifer A. Dorsey
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